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UNITED STATES DISTRICT COURT

 

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UNITED sTATEs oF AMERICA,
Plaintiff,
vs. Cr. No. 05-20082-13
RoDERCUs FREEMAN,
Defendant.

 

ORDER GRANTING MOTION TO CONTINUE
SUPPRESSION HEARING AND REPORT DATE

Upon Motion by the Defendant for a continuance of the suppression hearing and report date,

for good cause shown, and Without objection by the government, the Court hereby GRANTS the

motion. The Court FINDS, pursuant to 18 U.S ,C. §3161(h)(1)(F), that this period of delay shall be

excluded in computing the time Within which the trial of this case must commence

Accordingly, the Court hereby RESETS the suppression hearing from June 23, 2005 to

JLLV\€, 30 , 2005 at q`-OO a-m. and RESETS the report date to

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o oRABLE J. DANIEL BREEN
UNI ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:05-CR-20082 WaS distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

